                                                     Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 1 of 24 PageID# 277



                                                          1 HOLLAND & KNIGHT LLP
                                                            Abraham J. Colman (SBN 146933)
                                                          2 abe.colman@hklaw.com
                                                            Raymond Y. Kim (SBN 251210)
                                                          3 raymond.kim@hklaw.com
                                                            Zachary Frampton (SBN 303225)
                                                          4 zac.frampton@hklaw.com
                                                            400 South Hope Street, 8th Floor
                                                          5 Los Angeles, CA 90071
                                                            Telephone: 213.896.2400
                                                          6 Fax:         213.896.2450
                                                          7 Attorneys for Defendant
                                                            United Auto Credit Corporation
                                                          8
                                                          9                     UNITED STATES DISTRICT COURT
                                                      10                         CENTRAL DISTRICT OF CALIFORNIA
                                                      11
                                                         JERRY DAVIDSON, individually and                 Case No.: 8:20-cv-00636-MCS (KESx)
                                                      12 on behalf of all others similarly situated,
                                                                                                          DEFENDANT UNITED AUTO
                       400 South Hope Street, 8th Floor




                                                      13                                                  CREDIT CORPORATION’S REPLY
Holland & Knight LLP




                                                                             Plaintiff,
                           Los Angeles, CA 90071




                                                                                                          IN SUPPORT OF MOTION TO
                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14                                                  DISMISS PLAINTIFF’S SECOND
                                                               vs.                                        AMENDED CLASS ACTION
                                                      15                                                  COMPLAINT PURSUANT TO
                                                         UNITED AUTO CREDIT                               FEDERAL RULE OF CIVIL
                                                      16 CORPORATION, a California                        PROCEDURE 12(b)(6)
                                                      17 corporation,                                     Hon. Mark C. Scarsi1
                                                      18                        Defendant.                Hon. Karen L. Stevenson

                                                      19                                                  Date:      October 19, 2020
                                                                                                          Time:      9:00 a.m.
                                                      20                                                  Ct. Rm.:   7C

                                                      21                                                  SAC Filed: July 16, 2020

                                                      22
                                                      23
                                                           Pursuant to the September 30, 2020 Order of the Chief Judge, this matter was
                                                            1
                                                      24 transferred from Judge David O. Carter to the calendar of Judge Mark C. Scarsi for all
                                                         further proceedings. See Dkt. No. 41. In the afternoon of October 5, 2020, United Auto
                                                      25 reviewed Judge Scarsi’s Standing Order (dated October 1, 2020), which limits reply
                                                         briefs to ten (10) pages. United Auto did not notice this Order prior to October 5, and
                                                      26 prepared its reply brief in advance pursuant to Judge David Carter’s Standing Order,
                                                         which does not limit a reply brief’s number of pages. As such, United Auto respectfully
                                                      27 requests that the Court permit United Auto to submit a reply brief in excess of 10 pages
                                                         and consider United Auto’s submitted reply brief in its entirety.
                                                      28

                                                                DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                              PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                     Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 2 of 24 PageID# 278



                                                          1                                           TABLE OF CONTENTS
                                                          2                                                                                                                 Page
                                                          3 I.        INTRODUCTION ...........................................................................................1
                                                          4 II.       LEGAL ARGUMENT .................................................................................... 2
                                                          5
                                                                      A.      The MLA Expressly Exempts Auto Finance Transactions, Such
                                                          6                   As Plaintiff’s Auto Finance Contract .................................................... 2
                                                          7                   1.       The Plain Language Of The MLA Should Control .................... 2
                                                          8
                                                                              2.       The DoD’s Interpretation Of 32 C.F.R. 232.3(f)(2)(iii), A
                                                          9                            Separate Regulatory Exception Governing The Finance
                                                      10                               of Personal Property Purchases, Has No Bearing Here ..............5

                                                      11                      3.       United Auto Is Not A “Creditor” Under The MLA.................... 8
                                                      12              B.      Plaintiff’s First And Second Claims Under 10 U.S.C. §
                       400 South Hope Street, 8th Floor




                                                      13                      987(c)(1) Fail As A Matter of Law .......................................................9
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14              C.      Plaintiff Does Not Dispute That “Prepaid Interest” Is Not
                                                                              Applied To Closed-Ended, Simple Interest Contracts, Like
                                                      15
                                                                              Plaintiff’s Installment Contract ...........................................................12
                                                      16
                                                                      D.      The Court May Take Judicial Notice Of Mathematical
                                                      17                      Calculations Contained In The Amortization Table, Attached As
                                                      18                      Exhibit 1 To United Auto’s Request For Judicial Notice ...................13
                                                      19              E.      Plaintiff’s Third Claim Under 10 U.S.C. § 987(e)(3) for
                                                                              Mandatory Arbitration Fails As A Matter of Law ..............................14
                                                      20
                                                      21                      1.       The MLA Does Not Prohibit Arbitration As A Blanket
                                                                                       Rule—It Only Prohibits Arbitration When It Is A
                                                      22                               Condition Of Obtaining Consumer Credit................................14
                                                      23
                                                                              2.       The Opt-Out Clause Renders The Arbitration Provision
                                                      24                               Optional, And Therefore Not In Violation Of The MLA.........15
                                                      25                      3.       Cases In The Ninth Circuit Provide That When An
                                                      26                               Arbitration Provision Includes A Meaningful Opt-Out
                                                                                       Clause, The Arbitration Provision Is Optional Rather
                                                      27                               Than Mandatory........................................................................16
                                                      28
                                                                                                                      -i-
                                                                  DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                                PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                     Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 3 of 24 PageID# 279



                                                          1 III.   CONCLUSION .............................................................................................18
                                                          2
                                                          3
                                                          4
                                                          5
                                                          6
                                                          7
                                                          8
                                                          9
                                                      10
                                                      11
                                                      12
                       400 South Hope Street, 8th Floor




                                                      13
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14
                                                      15
                                                      16
                                                      17
                                                      18
                                                      19
                                                      20
                                                      21
                                                      22
                                                      23
                                                      24
                                                      25
                                                      26
                                                      27
                                                      28
                                                                                                                   - ii -
                                                              DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED CLASS
                                                                                             ACTION COMPLAINT
                                                     Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 4 of 24 PageID# 280



                                                          1                                          TABLE OF AUTHORITIES
                                                          2                                                                                                                      Page(s)
                                                          3 Cases
                                                          4 16062 Sw. Freeway, LLC v. Principal Commercial Funding, LLC,
                                                          5    No. 07-CV-1998, 2008 WL 11508654 (S.D. Cal. Feb. 5, 2008) ............................ 10

                                                       6 Adams v. Johnson,
                                                            355 F.3d 1179 (9th Cir. 2004) ................................................................................. 10
                                                       7
                                                       8 Alanis v. Nelson,
                                                            No. CV 11-02583-JEM, 2011 WL 13130698 (C.D. Cal. Oct. 3, 2011) ................. 10
                                                       9
                                                         Allied World Surplus Lines Ins. Co. v. Hawaii Med. Serv. Ass'n,
                                                      10
                                                            No. CV 17-00156, 2017 WL 4286306 (D. Haw. Sept. 27, 2017) ........................... 10
                                                      11
                                                         Connecticut Nat'l Bank v. Germain,
                                                      12    503 U.S. 249 (1992)................................................................................................... 3
                       400 South Hope Street, 8th Floor




                                                      13
Holland & Knight LLP




                                                         Daniels-Hall v. Nat'l Educ. Ass'n,
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14    629 F.3d 992 (9th Cir. 2010) ............................................................................. 11, 12
                                                      15 Forouzesh v. CVS Pharmacy, Inc.,
                                                      16   No. 2:18-cv-04090, 2019 WL 652887 (C.D. Cal., Feb. 15, 2019) ......................... 12

                                                      17 Garrett v. Monterey Financial Services, LLC,
                                                            No. 18-cv-325 JKB, 2018 WL 3579856 (D. Md. July 25, 2018) ............... 15, 16, 17
                                                      18
                                                      19 Gipbsin v. Runnels,
                                                            No. CIV S-03-1547, 2006 WL 3299883 (E.D. Cal. Nov. 14, 2006),
                                                      20    report and recommendation adopted sub nom., 2007 WL 776607
                                                      21    (E.D. Cal. Mar. 12, 2007) ........................................................................................ 10
                                                      22 Hanson-Poulsen v. Dep't of Def. of United States,
                                                            No. CV165786DMGAFMX, 2018 WL 8729581 (C.D. Cal. June 26,
                                                      23
                                                            2018) ........................................................................................................................ 10
                                                      24
                                                         Hose v. Washington Inventory Servs, Inc.,
                                                      25    No. 14-cv-2869, 2017 WL 3085846 (S.D. Cal. July 19, 2017) .............................. 16
                                                      26
                                                         Miller v. Fed. Land Bank of Spokane,
                                                      27    587 F.2d 415 (9th Cir. 1978) ................................................................................... 13
                                                      28
                                                                                                                         - iii
                                                               DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                     Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 5 of 24 PageID# 281



                                                          1 Moss v. U.S. Secret Service,
                                                          2   572 F.3d 962 (9th Cir. 2009) ................................................................................... 10

                                                       3 In re Netflix, Inc. Sec. Litig.,
                                                             No. C 04-2978 WHA, 2005 WL 3096209 (N.D. Cal. Nov. 18, 2005) ................... 13
                                                       4
                                                       5 Oklahoma Firefighters Pension & Retirement Sys. v. Ixia,
                                                             No. 13-cv-8440 MMM, 2015 WL 1775221 (C.D. Cal. April 14, 2015) ................ 13
                                                       6
                                                         Reno v. National Transp. Safety Bd.,
                                                       7
                                                             45 F.3d 1375 (9th Cir.1995) ...................................................................................... 3
                                                       8
                                                         Rivera v. Uniqlo California, LLC,
                                                       9     No. LACV1702848JAKJPRX, 2017 WL 6539016 (C.D. Cal. Sept. 8,
                                                      10     2017) ........................................................................................................................ 18

                                                      11 Sprewell v. Golden State Warriors,
                                                            266 F.3d 979 (9th Cir. 2001) ................................................................................... 10
                                                      12
                       400 South Hope Street, 8th Floor




                                                      13 United States v. Bucher,
Holland & Knight LLP
                           Los Angeles, CA 90071




                                                            375 F.3d 929 (9th Cir. 2004) ..................................................................................... 3
                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14
                                                         United States v. Hagberg,
                                                      15
                                                            207 F.3d 569 (9th Cir. 2000) ..................................................................................... 3
                                                      16
                                                         Zuress v. Donley,
                                                      17    606 F.3d 1249 (9th Cir. 2010) ................................................................................... 2
                                                      18
                                                         Statutes
                                                      19
                                                         10 U.S.C. § 987(i)(6) ...................................................................................................... 3
                                                      20
                                                         10 U.S.C. § 987(c)(1)...................................................................................................... 9
                                                      21
                                                      22 10 U.S.C. § 987(e)(3).................................................................................................... 14
                                                      23 Other Authorities
                                                      24 12 C.F.R. § 1026.17(c)(4)(ii) ........................................................................................ 12
                                                      25
                                                         32 C.F.R. 232.3(f)(1) ...................................................................................................... 8
                                                      26
                                                         32 C.F.R. 232.3(f)(2)(ii) ............................................................................................. 3, 6
                                                      27
                                                      28 32 C.F.R. 232.3(f)(2)(iii) ............................................................................................ 2, 5
                                                                                                                         - iv -
                                                               DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED CLASS
                                                                                              ACTION COMPLAINT
                                                     Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 6 of 24 PageID# 282



                                                          1 32 C.F.R. 232.3(f)(2)(iii) ............................................................................................ 5, 6
                                                          2 32 C.F.R. § 232.3(i) ........................................................................................................ 8
                                                          3
                                                            32 C.F.R. § 232.3(b)(1)................................................................................................... 4
                                                          4
                                                            32 C.F.R. § 232.3(b)(2)(ii) (Sept. 30, 2015) ................................................................... 4
                                                          5
                                                          6 32 C.F.R. §232.3(f)(1) .................................................................................................... 3
                                                          7 32 C.F.R. § 232.4(c)(2) ................................................................................................. 12
                                                       8 32 CFR 232.3(f)(2)(iii) ................................................................................................... 5
                                                       9
                                                         82 Fed. Reg. 58739 (Dec. 14, 2017) ............................................................................... 6
                                                      10
                                                         2014 DoD Proposed Rules, 79 Fed. Reg. 58602-01....................................................... 5
                                                      11
                                                         2016 DoD Ruling, 81 Fed. Reg. 58840-01 (August 26, 2016) .................................. 5, 6
                                                      12
                       400 South Hope Street, 8th Floor




                                                      13 2020 DoD Ruling, 85 Fed. Reg. 11842-02 ................................................................. 7, 8
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14 2020 DoD Ruling, 85 Fed. Reg. 11843 (Feb. 28, 2020) ................................................ 7
                                                      15 DoD, Proposed Rules, Limitations on Terms of Consumer Credit
                                                      16   Extended to Service Members and Dependents,
                                                           79 FR 58602-01, 58603 (September 29, 2014) ......................................................... 4
                                                      17
                                                         FDIC Consumer Compliance Examination Manual, MLA, V-13.1 (Sept.
                                                      18
                                                           2016) (available at
                                                      19   https://www.fdic.gov/regulations/compliance/manual/5/v-13.1.pdf) ....................... 8
                                                      20 OPTION, Black’s Law Dictionary (11th ed. 2019)...................................................... 15
                                                      21
                                                         OPTIONAL, Oxford English Dictionary, US English ................................................. 15
                                                      22
                                                         Texas Independent Automobile Dealers Association, Mind the Gap…
                                                      23    Insurance (November 20, 2019) (available at
                                                      24    https://www.txiada.org/blog_home.asp?display=244) .............................................. 7
                                                      25 Washington Area New Dealers Association, New DOD Interpretation of
                                                           Military Lending Act Affects Dealers (available at
                                                      26
                                                           https://wanada.org/new-dod-interpretation-of-military-lending-act-
                                                      27   affects-dealers/).......................................................................................................... 7
                                                      28
                                                                                                                         -v-
                                                                DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED CLASS
                                                                                               ACTION COMPLAINT
                                                     Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 7 of 24 PageID# 283



                                                          1                                I.    INTRODUCTION
                                                          2        The Opposition filed by Plaintiff Jerry Davidson (“Plaintiff”) confirms that the
                                                          3 Military Lending Act (the “MLA”) does not govern the transaction financing his
                                                          4 vehicle purchase in 2018. Plaintiff’s auto finance contract (the “Contract”) with
                                                          5 Defendant United Auto Credit Corporation (“United Auto”) was secured by the
                                                          6 vehicle. The MLA expressly exempts “any credit transaction that is expressly
                                                          7 intended to finance the purchase of a motor vehicle when the credit is secured by the
                                                          8 vehicle being purchased.” Plaintiff’s attempt to equate his auto finance transaction
                                                          9 with a “hybrid purchase money and cash advance loan” for personal property fails.
                                                      10 Plaintiff does not allege that United Auto provided him a cash advance loan exceeding
                                                      11 the costs associated with his vehicle purchase. Moreover, the MLA’s auto finance
                                                      12 exemption is distinct from, and independent of, the personal property exemption. And
                       400 South Hope Street, 8th Floor




                                                      13 unlike the personal property exemption, the Department of Defense has not limited the
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14 auto finance exemption in any manner. Accordingly, Plaintiff’s claims, all of which
                                                      15 are grounded in the MLA, should be dismissed as a matter of law.
                                                      16           Plaintiff’s first and second claims should also be dismissed for an independent
                                                      17 reason: they lack any supporting facts to state a plausible claim that the MAPR is not
                                                      18 accurate, and are belied by the amounts set forth in the Contract. In its opening brief,
                                                      19 United Auto set forth a specific calculation and amortization table showing that the
                                                      20 22.99% MAPR in the Contract is accurate, and Plaintiff was not assessed a “Prepaid
                                                      21 Interest.” Plaintiff does not dispute United Auto’s calculation, fails to address United
                                                      22 Auto’s detailed arguments, and merely contends that “[e]ven without a specifically
                                                      23 enumerated calculation in the complaint, the allegation that Defendant charged
                                                      24 Plaintiff an undisclosed MAPR rate of 26.31% is clearly extracted from the numbers
                                                      25 set forth in the contract.” To the contrary, the purported MAPR of 26.31 is not
                                                      26 “clearly extracted from the numbers set forth in the contract.” In fact, the Contract,
                                                      27 attached as Exhibit A to the SAC, disproves Plaintiff’s claim. Because Plaintiff
                                                      28
                                                                                                      -1-
                                                              DEFENDANT UNITED AUTO CREDIT CORPORATION’S NOTICE OF MOTION AND MOTION TO DISMISS
                                                                             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                     Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 8 of 24 PageID# 284



                                                          1 offers no explanation or calculation to support his conclusory assertion that the MAPR
                                                          2 should be 26.31% or that United Auto failed to disclose any Prepaid Interest assessed
                                                          3 on the Contract, his first and second claims cannot survive this Motion.
                                                          4        Finally, Plaintiff’s third claim that he was unlawfully required to submit to
                                                          5 arbitration fails because the arbitration provision in the Contract includes a
                                                          6 prominently displayed opt-out clause, which Plaintiff did not exercise. Cases in the
                                                          7 Ninth Circuit provide that an arbitration provision with an opt-out clause is by
                                                          8 definition not mandatory. Accordingly, United Auto respectfully requests that this
                                                          9 Court dismiss this action in its entirety, without leave to amend, for failure to state a
                                                      10 claim for relief.
                                                      11                                  II.    LEGAL ARGUMENT
                                                      12 A.        The MLA Expressly Exempts Auto Finance Transactions, Such As
                       400 South Hope Street, 8th Floor




                                                      13           Plaintiff’s Auto Finance Contract
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14           In the Opposition, Plaintiff proposes that this Court ignore the plain language of
                                                      15 the MLA, which explicitly excludes auto finance transactions from the definition of
                                                      16 “consumer credit.” Oppos., at 3:12-8:22. Notwithstanding this exception, Plaintiff
                                                      17 argues that the Court should rely on the DoD’s interpretation of a different exception,
                                                      18 32 C.F.R. 232.3(f)(2)(iii), which exempts credit transactions that finance “the
                                                      19 purchase of personal property” to find that the auto finance exception does not apply.
                                                      20 Plaintiff is wrong.
                                                      21           1.     The Plain Language Of The MLA Should Control
                                                      22           “When interpreting a statute, ‘[the Ninth Circuit Court] look[s] first to the plain
                                                      23 language of the statute, construing the provisions of the entire law, including its object
                                                      24 and policy, to ascertain the intent of Congress.’ If the plain meaning of the statute is
                                                      25 unambiguous, that meaning is controlling[.]” Zuress v. Donley, 606 F.3d 1249, 1252–
                                                      26 53 (9th Cir. 2010). Similarly, “[t]o interpret a regulation, [courts in the Ninth Circuit]
                                                      27 look first to its plain language. As with legislation, [courts] presume the drafters said
                                                      28
                                                                                                        -2-
                                                               DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                     Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 9 of 24 PageID# 285



                                                          1 what they meant and meant what they said. If the regulation is unambiguous, its plain
                                                          2 meaning controls unless such reading would lead to absurd results.” United States v.
                                                          3 Bucher, 375 F.3d 929, 932 (9th Cir. 2004) (citing United States v. Hagberg, 207 F.3d
                                                          4 569, 574 (9th Cir. 2000); Reno v. National Transp. Safety Bd., 45 F.3d 1375, 1379
                                                          5 (9th Cir.1995); Connecticut Nat'l Bank v. Germain, 503 U.S. 249, 253–54 (1992)).;
                                                          6        Here, the MLA’s statutory “auto finance exemption” explicitly excludes auto
                                                          7 finance transactions from the definition of “consumer credit”:
                                                          8        The term “consumer credit” has the meaning provided for such term in
                                                          9        regulations prescribed under this section, except that such term does not
                                                      10           include … a loan procured in the course of purchasing a car or other
                                                      11           personal property, when that loan is offered for the express purpose of
                                                      12           financing the purchase and is secured by the car or personal property
                       400 South Hope Street, 8th Floor




                                                      13           procured.
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14 10 U.S.C. § 987(i)(6). The MLA’s regulations provide that “consumer credit” means
                                                      15 “credit offered or extended to a covered borrower primarily for personal, family, or
                                                      16 household purposes, and that is: (i) Subject to a finance charge; or (ii) Payable by a
                                                      17 written agreement in more than four installments.” 32 C.F.R. §232.3 (f)(1). However,
                                                      18 the MLA’s regulation also expressly excludes auto finance transactions:
                                                      19           [C]onsumer credit does not mean: any credit transaction that is
                                                      20           expressly intended to finance the purchase of a motor vehicle
                                                      21           when the credit is secured by the vehicle being purchased[.]
                                                      22 32 C.F.R. 232.3(f)(2)(ii).
                                                      23           Here, Plaintiff financed the purchase of a 2011 GMC Acadia SUV (the
                                                      24 “Vehicle”). Plaintiff’s Contract was secured by the Vehicle and assigned to United
                                                      25 Auto. SAC, SAC, Exhibit A, Installment Contract at 1. Exhibit A, Installment
                                                      26 Contract at 1. Thus, based on the MLA’s statutory and regulatory definitions, the
                                                      27 financing of Plaintiff’s Vehicle purchase is not a “consumer credit” transaction, and
                                                      28
                                                                                                       -3-
                                                              DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                            PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                  Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 10 of 24 PageID# 286



                                                          1 therefore is not subject to the MLA’s mandates or prohibitions. As such, Plaintiff’s
                                                          2 SAC, which is based entirely on the MLA, should be dismissed without leave to
                                                          3 amend.
                                                          4        The MLA’s legislative history supports this finding. The MLA was originally
                                                          5 enacted to protect active members of the military and their dependents from predatory
                                                          6 loan products, such as auto title loans where a consumer’s vehicle title is used as
                                                          7 security for a loan:
                                                          8        [T]he Department “focus[ed] on three problematic credit products that
                                                          9        the Department identified in its August 2006 Report to Congress on the
                                                      10           Impact of Predatory Lending Practices on Members of the Armed
                                                      11           Forces and Their Dependents [(“2006 Report”)]: Payday loans, vehicle
                                                      12           title loans, and refund anticipation loans.” The Department elected, at
                       400 South Hope Street, 8th Floor




                                                      13           that time, to define the scope of “consumer credit” covered by the
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14           regulation as a narrow band of products within these three categories of
                                                      15           credit[.]
                                                      16 DoD, Proposed Rules, Limitations on Terms of Consumer Credit Extended to Service
                                                      17 Members and Dependents, 79 FR 58602-01, 58603 (September 29, 2014) (“2014 DoD
                                                      18 Proposed Rules”). As such, the original version of the MLA, which was effective
                                                      19 from October 1, 2007 to September 30, 2015, defined “consumer credit” transactions
                                                      20 as only “Payday loans,” “Vehicle title loans,” and “Tax refund anticipation loans.” 32
                                                      21 C.F.R. § 232.3(b)(1) (eff. Oct. 1, 2007 to Sept. 30, 2015). Notably, the original
                                                      22 version of the MLA also excepted, “[a]ny credit transaction to finance the purchase or
                                                      23 lease of a motor vehicle when the credit is secured by the vehicle being purchased or
                                                      24 leased.” 32 C.F.R. § 232.3(b)(2)(ii) (Sept. 30, 2015).
                                                      25           In 2014, the DoD set out to expand the scope of “consumer credit” transactions
                                                      26 because it “believe[d] that the narrowly defined parameters of the credit products
                                                      27 regulated as ‘consumer credit’ under the existing regulation do not effectively provide
                                                      28
                                                                                                      -4-
                                                               DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                  Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 11 of 24 PageID# 287



                                                          1 the protections intended to be afforded to Service members and their families under
                                                          2 the MLA.” 2014 DoD Proposed Rules, 79 FR 58602-01, at 58610. However, the
                                                          3 DoD still made clear that the MLA would continue to “except … loans that are
                                                          4 mortgage loans and purchase-money financing for vehicles or other personal
                                                          5 property.” Id. at 58636. Against this backdrop, it is clear that the MLA was not
                                                          6 intended to govern auto finance contracts secured by the purchased vehicle.
                                                          7 Accordingly, Plaintiff’s MLA claims each fail.
                                                          8        2.    The DoD’s Interpretation Of 32 C.F.R. 232.3(f)(2)(iii), A Separate
                                                          9              Regulatory Exception Governing The Finance of Personal Property
                                                      10                 Purchases, Has No Bearing Here
                                                      11           Plaintiff’s reliance on the DoD’s interpretation of a different exception, 32
                                                      12 C.F.R. 232.3(f)(2)(iii), which exempts credit transactions that finance “the purchase of
                       400 South Hope Street, 8th Floor




                                                      13 personal property,” is misplaced. Plaintiff cites the DoD’s 2016 interpretive ruling
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14 entitled, “Military Lending Act Limitations on Terms of Consumer Credit Extended to
                                                      15 Service Members and Dependents” (“2016 DoD Ruling”). Opposition, at 4:25-5:12.
                                                      16 In that ruling, the DoD specifically evaluated the personal property exemption in
                                                      17 answering the question, “Does credit that a creditor extends for the purpose of
                                                      18 purchasing personal property, which secures the credit, fall within the exception to
                                                      19 ‘consumer credit’ under 32 CFR 232.3(f)(2)(iii) where the creditor simultaneously
                                                      20 extends credit in an amount greater than the purchase price?” 2016 DoD Ruling, 81
                                                      21 FR 58840-01, at *58841 (August 26, 2016) (italics added). The DoD answered “No.”
                                                      22 Id. The DoD explained that a credit transaction providing financing above and
                                                      23 beyond the cost of the personal property (i.e. a “cash advance loan”) is unrelated to
                                                      24 the purchase of the personal property and would not be exempt from the MLA:
                                                      25           A hybrid purchase money and cash advance loan is not expressly
                                                      26           intended to finance the purchase of personal property, because the loan
                                                      27           provides additional financing that is unrelated to the purchase. To
                                                      28
                                                                                                       -5-
                                                              DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                            PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                  Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 12 of 24 PageID# 288



                                                          1        qualify for the purchase money exception from the definition of
                                                          2        consumer credit, a loan must finance only the acquisition of personal
                                                          3        property. Any credit transaction that provides purchase money secured
                                                          4        financing of personal property along with additional “cash-out”
                                                          5        financing is not eligible for the exception under § 232.3(f)(2)(iii)[.]
                                                          6 Id. (italics and bold added). The 2016 DoD Ruling on personal property finance
                                                          7 transactions is inapposite here for obvious reasons.
                                                          8        First, Plaintiff does not allege that he received a “cash advance loan” or
                                                          9 “additional cash-out financing” for any amount not contained in his Contract or
                                                      10 related to his Vehicle purchase. Plaintiff’s financing from United Auto was strictly
                                                      11 related to his vehicle purchase for costs directly associated with the purchase. SAC,
                                                      12 Dkt. No. 31, ¶¶ 30-31, Exhibit A. For example, he does not claim that United Auto
                       400 South Hope Street, 8th Floor




                                                      13 provided him an additional $1,000.00 above the costs associated with the vehicle
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14 purchase to buy a new television or watch. The alleged “GAP Coverage, a Processing
                                                      15 Fee, and Prepaid Interest” were each itemized in the Contract and were inextricably
                                                      16 tied to Plaintiff’s purchase of the Vehicle.
                                                      17           Second, the auto finance exemption is entirely independent of and separate from
                                                      18 the personal property exemption. Compare 32 C.F.R. 232.3(f)(2)(ii) and 32 C.F.R.
                                                      19 232.3(f)(2)(iii). As discussed in United Auto’s opening brief, Plaintiff’s MLA claims
                                                      20 appear to have arisen from a now void interpretive ruling issued by the DoD on
                                                      21 December 14, 2017 (the “December 2017 Interpretive Rule”). 82 Fed. Reg. 58739
                                                      22 (Dec. 14, 2017). In the December 2017 Interpretive Rule, the DoD specifically
                                                      23 addressed the auto finance exemption and briefly expanded the scope of the MLA to
                                                      24 include auto finance transactions that included the GAP Waiver costs in the Amount
                                                      25 Financed. The DoD had reasoned that the GAP Waiver was a “credit-related product
                                                      26 or service rather than a product or service expressly related to the motor vehicle” (e.g.
                                                      27 leather seats). Importantly, however, in February 2020 the DoD affirmatively
                                                      28
                                                                                                       -6-
                                                               DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                  Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 13 of 24 PageID# 289



                                                          1 withdrew this portion of the December 2017 Interpretive Rule, and in so doing,
                                                          2 returned the MLA to its original scope of coverage excluding auto finance transactions
                                                          3 entirely based on the 2016 DoD Ruling. See February 28, 2020 Interpretive Rule, 85
                                                          4 Fed. Reg. 11842-02, 11843 (Feb. 28, 2020) (“2020 DoD Ruling”).
                                                          5        Recognizing this, Plaintiff asks the Court to apply the DoD’s 2016
                                                          6 interpretation of the personal property exemption to the auto finance exemption.
                                                          7 Opposition, at 7:21-25. However, in the 2020 Ruling the DoD said nothing to even
                                                          8 remotely suggest that the 2016 DoD Ruling should apply to the auto finance
                                                          9 exemption. 2020 DoD Ruling, 85 Fed. Reg. 11842-02, 11843. Instead, the DoD
                                                      10 raised concerns about its prior 2017 Interpretive Rule, including that “creditors may
                                                      11 not extend credit if they could not take a security interest in the vehicle being
                                                      12 purchased.” 2020 DoD Ruling, 85 Fed. Reg. 11842-02, 11843. Other concerns
                       400 South Hope Street, 8th Floor




                                                      13 included the likelihood that dealerships will not offer GAP Waivers to covered
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14 members and the inability of dealerships to perfect their security interests in the
                                                      15 vehicles. See Texas Independent Automobile Dealers Association, Mind the Gap…
                                                      16 Insurance (November 20, 2019) (available at
                                                      17 https://www.txiada.org/blog_home.asp?display=244) (“Because of the compliance
                                                      18 risk, and concerns surrounding perfection of security interests if these products are
                                                      19 included in a covered transaction, many dealers and finance companies have decided
                                                      20 not to offer the products to those covered by the MLA. I think we all agree such a
                                                      21 decision does not benefit anyone – especially servicemembers[.]”); Washington Area
                                                      22 New Dealers Association, New DOD Interpretation of Military Lending Act Affects
                                                      23 Dealers (available at https://wanada.org/new-dod-interpretation-of-military-lending-
                                                      24 act-affects-dealers/) (“A new interpretation of the Military Lending Act (MLA) by the
                                                      25 U.S. Department of Defense (DOD) should cause dealers to question whether they
                                                      26 will sell GAP protection and credit insurance to active duty military personnel and
                                                      27 their dependents.”). As such, the DoD vacated the 2017 Interpretive Ruling and left
                                                      28
                                                                                                     -7-
                                                              DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                            PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                  Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 14 of 24 PageID# 290



                                                          1 the auto finance exemption undisturbed, without limitation. 2020 DoD Ruling, 85
                                                          2 Fed. Reg. 11842-02, 11843.
                                                          3        Third, common sense dictates the differential treatment of automobile
                                                          4 purchases and personal property purchases. If the credit for the purchase of personal
                                                          5 property also provides for a cash advance loan to purchase other unrelated products,
                                                          6 such credit is no different from a general credit card or installment loan, which is
                                                          7 governed by the MLA. 32 C.F.R. 232.3(f)(1); FDIC Consumer Compliance
                                                          8 Examination Manual, MLA, V-13.1 (Sept. 2016) (available at
                                                          9 https://www.fdic.gov/regulations/compliance/manual/5/v-13.1.pdf) (“Some examples
                                                      10 of additional credit products now subject to MLA protections when made to covered
                                                      11 borrowers include: Credit cards; … Certain installment loans (but not installment
                                                      12 loans expressly intended to finance the purchase of a vehicle or personal property
                       400 South Hope Street, 8th Floor




                                                      13 when the credit is secured by the vehicle or personal property being purchased.”).
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14 Again, Plaintiff does not claim to have received a “cash advance loan” or “additional
                                                      15 cash out financing” from United Auto. Accordingly, Plaintiff’s MLA claims fail as a
                                                      16 matter of law.
                                                      17           3.     United Auto Is Not A “Creditor” Under The MLA
                                                      18           In the Opposition, Plaintiff argues that United Auto is a “creditor” under the
                                                      19 MLA because Plaintiff’s “GAP Coverage” was financed under his Contract.
                                                      20 Opposition, at 8:27-9:2. To the contrary, as explained above, the absence of a valid
                                                      21 “consumer credit” transaction here also means that United Auto is not a “creditor”
                                                      22 under the MLA. 32 C.F.R. § 232.3(i) (“Creditor . . . means a person who is:
                                                      23 (1) Engaged in the business of extending consumer credit; or (2) An assignee of a
                                                      24 person described in paragraph (i)(1) of this section with respect to any consumer
                                                      25 credit extended.”) (emphasis added).
                                                      26           In addition, as set forth in United Auto’s opening brief, the SAC establishes that
                                                      27 United Auto engages in auto finance transactions by accepting the assignment of retail
                                                      28
                                                                                                       -8-
                                                               DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                  Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 15 of 24 PageID# 291



                                                          1 installment sale contracts from auto dealerships, which are secured by the vehicles
                                                          2 sold by the dealerships. SAC ¶¶ 11, 21-25. Plaintiff does dispute this contention in
                                                          3 his Opposition. Plaintiff does not allege that United Auto provides “hybrid purchase
                                                          4 money and cash advance loans” or gave him credit for any amounts not set forth in his
                                                          5 vehicle purchase Contract. Because United Auto cannot be a “creditor” under the
                                                          6 MLA, Plaintiff’s SAC fails as a matter of law.
                                                          7 B.     Plaintiff’s First And Second Claims Under 10 U.S.C. § 987(c)(1) Fail As A
                                                          8        Matter of Law
                                                          9        In the Opposition, in support of his first and second claims relating to the
                                                      10 allegedly inaccurate MAPR and undisclosed “Prepaid Interest,” Plaintiff argues that
                                                      11 “the terms of the Installment Contract itself, and which is attached to the Complaint,
                                                      12 clearly support the allegations in the Second Amended Complaint which is all that is
                       400 South Hope Street, 8th Floor




                                                      13 required at this stage of the proceedings.” Opposition, 9:9-13. Plaintiff further argues
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14 that “[e]ven without a specifically enumerated calculation in the complaint, the
                                                      15 allegation that Defendant charged Plaintiff an undisclosed MAPR rate of 26.31% is
                                                      16 clearly extracted from the numbers set forth in the contract.” Opposition, 9:23-25. To
                                                      17 the contrary, the purported MAPR of 26.31% is not “clearly extracted from the
                                                      18 numbers set forth in the contract.” In fact, Plaintiff’s inaccurate MAPR claim is
                                                      19 belied by the amounts in the Installment Contract, attached as Exhibit A to the SAC.
                                                      20 Plaintiff offers no explanation or calculation to support his conclusory assertion that
                                                      21 the MAPR should be 26.31%.
                                                      22           It is well settled that “[f]or an allegation to be ‘entitled to the assumption of
                                                      23 truth,’ it must be well-pleaded, that is, it must set forth a non-conclusory factual
                                                      24 allegation rather than a legal conclusion. The Court need not accept as true
                                                      25 unreasonable inferences, unwarranted deductions of fact, or conclusory legal
                                                      26 allegations cast in the form of factual allegations. ‘In sum, for a complaint to survive
                                                      27 a motion to dismiss, the non-conclusory factual content, and reasonable inferences
                                                      28
                                                                                                        -9-
                                                               DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                  Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 16 of 24 PageID# 292



                                                          1 from that content, must be plausibly suggestive of a claim entitling the plaintiff to
                                                          2 relief.’” Alanis v. Nelson, No. CV 11-02583-JEM, 2011 WL 13130698, at *2 (C.D.
                                                          3 Cal. Oct. 3, 2011) (italics added) (citing Adams v. Johnson, 355 F.3d 1179, 1183 (9th
                                                          4 Cir. 2004) (“conclusory allegations of law and unwarranted inferences are insufficient
                                                          5 to defeat a motion to dismiss”); Sprewell v. Golden State Warriors, 266 F.3d 979, 988
                                                          6 (9th Cir. 2001); Moss v. U.S. Secret Service, 572 F.3d 962, 969 (9th Cir. 2009)).
                                                          7          This is especially true where the allegations are belied by irrefutable facts from
                                                          8 a document or calculation based on information from the complaint.2 See, e.g., 16062
                                                          9 Sw. Freeway, LLC v. Principal Commercial Funding, LLC, No. 07-CV-1998, 2008
                                                      10 WL 11508654, at *2 (S.D. Cal. Feb. 5, 2008) (“Plaintiffs plead four claims…
                                                      11 concerning the 365/360 method of interest calculation that leaves a substantial balance
                                                      12 at the end of the loan. The Court holds that these claims fail as a matter of law. As
                       400 South Hope Street, 8th Floor




                                                      13 Defendant points out, quotations from the loan documents show that the terms are
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14 disclosed and explained in the loan documents.”); Gipbsin v. Runnels, No. CIV S-03-
                                                      15 1547, 2006 WL 3299883, at *2 (E.D. Cal. Nov. 14, 2006), report and
                                                      16 recommendation adopted sub nom., 2007 WL 776607 (E.D. Cal. Mar. 12, 2007)
                                                      17 (“Defendants have met their burden of presenting evidence that plaintiff failed to
                                                      18 exhaust administrative remedies for any of the claims at bar prior to suit, and plaintiff
                                                      19 has failed to present any evidence that rebuts defendants' showing. Accordingly,
                                                      20 defendants' motion to dismiss should be granted and this action should be
                                                      21 dismissed[.]”); Allied World Surplus Lines Ins. Co. v. Hawaii Med. Serv. Ass'n, No.
                                                      22 CV 17-00156, 2017 WL 4286306, at *5–6 (D. Haw. Sept. 27, 2017) (granting motion
                                                      23
                                                      24      2 Plaintiff’s
                                                                      reliance on Hanson-Poulsen v. Dep't of Def. of United States is misplaced,
                                                         and misleading. Opposition, at 10:26-11:2. There, the court summarized the plaintiff’s
                                                      25 argument and explained, “Plaintiff also argues that the equitable considerations for
                                                         applying tolling involve questions of fact, and thus are inappropriate for decision on a
                                                      26 motion to dismiss.” No. CV165786DMGAFMX, 2018 WL 8729581, at *8 (C.D. Cal.
                                                         June 26, 2018). The court did not find there was a disputed factual allegation and
                                                      27 ultimately granted the motion to dismiss on the grounds that the plaintiff failed to
                                                         sufficiently plead equitable tolling. Id., at 8-9.
                                                      28
                                                                                                    - 10 -
                                                                DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                              PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                  Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 17 of 24 PageID# 293



                                                          1 to dismiss: “Plaintiffs have the burden to submit evidence to rebut Defendant's
                                                          2 evidence. Plaintiffs rely only on conclusory statements in their complaint and
                                                          3 opposition. Plaintiffs have not provided evidence to support their bald assertion of
                                                          4 termination.”).
                                                          5        Plaintiff’s allegations regarding the allegedly improper MAPR and undisclosed
                                                          6 Prepaid Interest are conclusory and do not give any factual basis for the calculation of
                                                          7 either the alleged $129.61 Prepaid Interest or the 3.32% difference in rate. See
                                                          8 generally SAC. In the Opposition, Plaintiff boldly contends that “[e]ven without a
                                                          9 specifically enumerated calculation in the complaint, the allegation that Defendant
                                                      10 charged Plaintiff an undisclosed MAPR rate of 26.31% is clearly extracted from the
                                                      11 numbers set forth in the contract,” but he still provides no factual basis for this
                                                      12 assertion. Opposition, at 9:23-25. As set forth in detail in United Auto’s opening
                       400 South Hope Street, 8th Floor




                                                      13 brief and Exhibit 1 attached to United Auto’s Request for Judicial Notice (“RJN”), by
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14 adding the fees and costs itemized in the Contract, it is indisputable that the amounts
                                                      15 for the $395.00 GAP Waiver and $250.00 Processing Fee are included in the total
                                                      16 Amount Financed of $14,698.24, which is the basis for the 22.99% MAPR. See RJN,
                                                      17 Dkt. No. 33, Exhibit 1. Plaintiff does not, and cannot, dispute the calculation
                                                      18 provided in United Auto’s Motion and the amortization schedule in the RJN.
                                                      19           Similarly, the allegation that United Auto failed to display the Prepaid Interest
                                                      20 charge of $129.61 is also belied by the Contract. SAC, ¶¶ 31, 52, 66. The Contract
                                                      21 establishes that Plaintiff was not charged for Prepaid Interest or any other finance
                                                      22 charge. Line “z” in the Itemization of Amount Financed, labeled “Prepaid Finance
                                                      23 Charge,” states “N/A,” meaning “not applicable.” SAC, Exhibit A, Installment
                                                      24 Contract, at 2. In the face of the Contract’s straightforward indication that Plaintiff
                                                      25 was not charged for prepaid interest and the amortization table based on amounts in
                                                      26 the Contract, it is insufficient for Plaintiff to simply argue the opposite. Daniels-Hall
                                                      27 v. Nat'l Educ. Ass'n, 629 F.3d 992, 998 (9th Cir. 2010) (“We are not . . . required to
                                                      28
                                                                                                      - 11 -
                                                               DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                  Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 18 of 24 PageID# 294



                                                          1 accept as true allegations that contradict exhibits attached to the Complaint[.]”).
                                                          2        Accordingly, Plaintiff’s conclusory allegation that the MAPR stated in his
                                                          3 Contract cannot survive this Motion. Forouzesh v. CVS Pharmacy, Inc., No. 2:18-cv-
                                                          4 04090, 2019 WL 652887, at *2 (C.D. Cal., Feb. 15, 2019) (“[A] court need not accept
                                                          5 conclusory allegations, ‘allegations that contradict exhibits attached to the complaint
                                                          6 or matters properly subject to judicial notice,’ ‘unwarranted deductions of fact, or
                                                          7 unreasonable inferences.’”) (citing Daniels-Hall, 629 F.3d at 998).
                                                          8 C.     Plaintiff Does Not Dispute That “Prepaid Interest” Is Not Applied To
                                                          9        Closed-Ended, Simple Interest Contracts, Like Plaintiff’s Installment
                                                      10           Contract
                                                      11           Lastly, Section 1026.17 of Regulation Z provides that Plaintiff’s purported
                                                      12 concept of “prepaid interest”—which appears to be based on the “irregular” number of
                       400 South Hope Street, 8th Floor




                                                      13 days between the Contract date and the first payment date—does not apply to closed-
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14 ended, simple interest contracts, like Plaintiff’s Installment Contract. In the
                                                      15 Opposition, Plaintiff fails to address this contention.
                                                      16           As explained in United Auto’s opening brief, because Plaintiff’s first payment
                                                      17 was due within 45 days of the Contract date (based on a Contract date of October 13,
                                                      18 2018 and a first payment date of November 27, 2018), which is 15 days longer than
                                                      19 the regular period of one month (i.e., 45 days versus a regular period of 30 days), in
                                                      20 calculating the MAPR and making disclosures, the Contract accurately lists a Prepaid
                                                      21 Finance Charge of no amount, or N/A. See Installment Contract, at 2; 12 C.F.R.
                                                      22 § 1026.17(c)(4)(ii) (“In making calculations and disclosures, the creditor may
                                                      23 disregard any irregularity in the first period...”); 32 C.F.R. § 232.4(c)(2). Thus, any
                                                      24 purported “payment schedule irregularity” in Plaintiff’s first payment cannot serve as
                                                      25 the basis for a claim that United Auto failed to include “prepaid interest” in the
                                                      26 Contract’s calculation of MAPR. Accordingly, Plaintiff’s claim that United Auto
                                                      27 failed to disclose Prepaid Interest or failed to properly calculate the MAPR based on
                                                      28
                                                                                                      - 12 -
                                                               DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                  Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 19 of 24 PageID# 295



                                                          1 the allegedly undisclosed Prepaid Interest should be dismissed.
                                                          2 D.     The Court May Take Judicial Notice Of Mathematical Calculations
                                                          3        Contained In The Amortization Table, Attached As Exhibit 1 To United
                                                          4        Auto’s Request For Judicial Notice
                                                          5        Plaintiff contends that the Court should not take judicial notice of the
                                                          6 calculations in the amortization table on the grounds that “the amortization schedule
                                                          7 does not prove what Defendants purports it does” and “whether the correct MAPR
                                                          8 rate was used is a disputed factual issue.” Opposition, at 11: 4-7, 25-28. However,
                                                          9 Plaintiff does not dispute the accuracy of the calculations or offer an alternative
                                                      10 calculation. See Opposition, at 11. He also cannot dispute that the amounts set forth
                                                      11 in the table are based on the itemized amounts contained in the Contract. In the Ninth
                                                      12 Circuit, it is well settled that district courts may take judicial notice of “matters of
                       400 South Hope Street, 8th Floor




                                                      13 mathematics” based on documents attached to or referenced in the complaint. Miller
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14 v. Fed. Land Bank of Spokane, 587 F.2d 415, 422 (9th Cir. 1978) (“This is a matter of
                                                      15 mathematics, of which the court could and should have taken judicial notice.”);
                                                      16 Oklahoma Firefighters Pension & Retirement Sys. v. Ixia, No. 13-cv-8440 MMM,
                                                      17 2015 WL 1775221, at *17 (C.D. Cal. April 14, 2015) (taking judicial notice of
                                                      18 “spreadsheets and tabulations created by defendants”); In re Netflix, Inc. Sec. Litig.,
                                                      19 No. C 04-2978 WHA, 2005 WL 3096209, at *1 (N.D. Cal. Nov. 18, 2005) (taking
                                                      20 judicial notice of inter alia, “certain SEC filings, calculations based upon information
                                                      21 in those filings”). Moreover, none of the cases cited by Plaintiff in the Opposition
                                                      22 stand for the proposition that mathematical calculations cannot be the subject of
                                                      23 judicial notice.
                                                      24           Here, the underlying data in amortization table is derived exclusively from
                                                      25 information contained in the SAC and the Contract. Specifically, the amortization
                                                      26 schedule is based on the annual percentage rate, amount financed, and monthly
                                                      27 payment from the Contract—a military annual percentage rate of 22.99%, an amount
                                                      28
                                                                                                      - 13 -
                                                               DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                  Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 20 of 24 PageID# 296



                                                          1 financed of $14,698.24, and a monthly payment amount of $517.19 with the first
                                                          2 payment due date of November 27, 2018. SAC ¶¶ 30–31; SAC Exhibit A, Contract
                                                          3 at 1. Additionally, the calculations themselves are explained, by each column and
                                                          4 line, in United Auto’s opening brief, making the data available for the Court’s
                                                          5 inspection and verification. See Motion to Dismiss, Dkt. No. 32, at 14:10-17:2.
                                                          6 Accordingly, the Court should take judicial notice of the calculations contained in the
                                                          7 amortization table.
                                                          8 E.     Plaintiff’s Third Claim Under 10 U.S.C. § 987(e)(3) for Mandatory
                                                          9        Arbitration Fails As A Matter of Law
                                                      10           In the Opposition, Plaintiff contends that the opt-out clause in the Arbitration
                                                      11 Provision does not save United Auto from liability under Section 987(e)(3) of the
                                                      12 MLA. Opposition, at 12:2-18:7. Plaintiff characterizes the opt-out provision as a
                       400 South Hope Street, 8th Floor




                                                      13 “loophole” enabling United Auto to “entrap” borrowers like him in “mandatory
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14 arbitration agreements with post-signing opt-out clauses,” and a “time-limited escape
                                                      15 clause.” Opposition, at 12-13. These are red herrings; the issue is quite
                                                      16 straightforward. In 10 U.S.C. § 987(e)(3), the MLA prohibits creditors from
                                                      17 “requiring” covered borrowers to submit to arbitration. Here, United Auto did not
                                                      18 require Plaintiff to submit to arbitration. Thus, Plaintiff does not have a claim under
                                                      19 Section 987(e)(3).
                                                      20           1.    The MLA Does Not Prohibit Arbitration As A Blanket Rule—It
                                                      21                 Only Prohibits Arbitration When It Is A Condition Of Obtaining
                                                      22                 Consumer Credit
                                                      23           There is no dispute that the MLA prohibits mandatory arbitration; this is in the
                                                      24 plain language of the statute. 10 U.S.C. § 987(e)(3) (“It shall be unlawful for any
                                                      25 creditor to extend consumer credit to a covered member or a dependent of such a
                                                      26 member with respect to which the creditor requires the borrower to submit to
                                                      27 arbitration . . . in the case of a dispute.”) (italics added). But Plaintiff’s interpretation
                                                      28
                                                                                                      - 14 -
                                                               DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                  Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 21 of 24 PageID# 297



                                                          1 that “[a]ny arbitration provision that would apply to borrowers covered by the MLA is
                                                          2 prohibited and unenforceable” is an overreach. Opposition, at 13 (emphasis in
                                                          3 original). The plain language of the MLA does not prohibit arbitration as a blanket
                                                          4 rule—it only prohibits creditors from “requiring” covered borrowers to submit to
                                                          5 arbitration as a term of their extension of credit.
                                                          6        2.     The Opt-Out Clause Renders The Arbitration Provision Optional,
                                                          7               And Therefore Not In Violation Of The MLA
                                                          8        Here, the Arbitration Provision expressly provides that it is not mandatory and
                                                          9 gives Plaintiff a 30-day window in which to opt out, even if he failed to object to the
                                                      10 provision on the day the Contract was consummated. SAC, Exhibit A, at 5. His
                                                      11 access to financing from United Auto—with the same interest, fees, and all terms—
                                                      12 was the same whether or not he agreed to the Arbitration Provision. Id. By definition,
                       400 South Hope Street, 8th Floor




                                                      13 the Arbitration Provision was optional, and whether he accepted or rejected it had no
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14 bearing on whether or not he could obtain the financing for the Vehicle. See
                                                      15 OPTIONAL, Oxford English Dictionary, US English (“available to be chosen but not
                                                      16 obligatory”); OPTION, Black’s Law Dictionary (11th ed. 2019) (“the right or power
                                                      17 to choose; something that may be chosen.”).
                                                      18           The opt-out process makes it doubly clear that United Auto did not require
                                                      19 Plaintiff to submit to arbitration as a condition of its extension of consumer credit.
                                                      20 This situation was previously addressed in Garrett v. Monterey Financial Services,
                                                      21 LLC, No. 18-cv-325 JKB, 2018 WL 3579856 (D. Md. July 25, 2018). There the
                                                      22 plaintiff claimed that the defendant had violated the MLA’s prohibition against
                                                      23 mandatory arbitration provisions. Id. at *3-4. The plaintiff’s installment agreement
                                                      24 stated that by entering into the included arbitration provision, the plaintiff was “giving
                                                      25 up [her] right to have a trial by jury to resolve any dispute alleged against us or related
                                                      26 third parties” and “giving up [her] right to have a court resolve any dispute alleged
                                                      27 against us or related third parties.” Id. at *1. However, it also contained an “OPT-
                                                      28
                                                                                                       - 15 -
                                                               DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                  Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 22 of 24 PageID# 298



                                                          1 OUT PROCESS” in which the plaintiff had sixty calendar days to send in a written
                                                          2 notice that she rejected the arbitration clause. Id. (capitalized in original). As such,
                                                          3 the court concluded that “the Agreement does not ‘require the borrower to submit to
                                                          4 arbitration’ because the arbitration provision contains an opt-out clause.” Id. at *4
                                                          5 (“Garrett also failed to demonstrate that the arbitration provision violates the MLA. …
                                                          6 the Agreement does not ‘require the borrower to submit to arbitration’ because the
                                                          7 arbitration provision contains an opt-out clause.”) (emphasis in original).
                                                          8        3.     Cases In The Ninth Circuit Provide That When An Arbitration
                                                          9               Provision Includes A Meaningful Opt-Out Clause, The Arbitration
                                                      10                  Provision Is Optional Rather Than Mandatory
                                                      11           In the Ninth Circuit, it is well settled that when an arbitration provision
                                                      12 provides an opt-out procedure, the consumer is given a “meaningful choice” whether
                       400 South Hope Street, 8th Floor




                                                      13 to proceed with arbitration, and the provision is not “mandatory” for purposes of
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14 determining whether it violates a ban on mandatory arbitration.
                                                      15           Of the various cases cited in United Auto’s opening brief and in Plaintiff’s
                                                      16 Opposition, the most apposite is Hose v. Washington Inventory Servs, Inc., because it
                                                      17 also involved a statute that prohibited mandatory arbitration. No. 14-cv-2869, 2017
                                                      18 WL 3085846 (S.D. Cal. July 19, 2017). In Hose, the statute at issue was the National
                                                      19 Labor Relations Act (“NLRA”), which provides that employers “may not condition
                                                      20 employment on the requirement” that employees sign any “contracts that foreclose the
                                                      21 possibility of concerted work-related legal claims.” Id. at *3. In other words, under
                                                      22 the NLRA, employers are not allowed to require that their employees sign arbitration
                                                      23 agreements containing class action waivers as a condition of their employment. Id.
                                                      24 But arbitration agreements are not flat-out prohibited under the NLRA. Thus, when
                                                      25 the Hose plaintiff’s employment contract contained an arbitration provision and class
                                                      26 action waiver, but also contained an opt-out clause and specified that arbitration “is
                                                      27 not a mandatory condition of your employment at the Company,” the court held that
                                                      28
                                                                                                       - 16 -
                                                               DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                  Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 23 of 24 PageID# 299



                                                          1 arbitration was not a requirement or condition of the plaintiff’s employment, and the
                                                          2 provision was enforceable under the NLRA. See id. at *4, 6.
                                                          3        The same result should follow here. Much like the NLRA prohibits employers
                                                          4 from conditioning employment on the requirement that the prospective employee
                                                          5 signs an arbitration provision, here the MLA prohibits creditors from conditioning the
                                                          6 extension of credit on the requirement that the prospective borrower agree to binding
                                                          7 arbitration. But just like in Hose, where the arbitration clause contained an opt-out
                                                          8 provision and expressly stated that it was not a condition of his employment, the
                                                          9 Arbitration Provision in Plaintiff’s Contract also contained an opt-out clause and also
                                                      10 expressly stated ― in prominent and conspicuous typeface ― that it was not a
                                                      11 condition of the credit transaction:
                                                      12           PROCESS TO REJECT THIS ARBITRATION PROVISION…
                       400 South Hope Street, 8th Floor




                                                      13           Rejecting this Arbitration Provision will NOT affect the terms
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14           under which we will finance and sell the Property to you or any
                                                      15           other terms of this Contract, except that the Arbitration Provision
                                                      16           will not apply.
                                                      17           CAUTION... If you approve this Arbitration Provision,
                                                      18           you have an additional 30 days after signing to reconsider
                                                      19           and reject your approval, as described above. If you use
                                                      20           that process to reject, this Arbitration Provision will not be
                                                      21           a part of this Contract, but the rest of this Contract will
                                                      22           still be binding and effective.
                                                      23 SAC, Exhibit A, at 5 (emphasis in original). Plaintiff’s argument that the “arbitration
                                                      24 provision is truly not an opt-out” lacks merit. Opposition, at 18:6-7. The Arbitration
                                                      25 Provision was optional to Plaintiff. When Plaintiff signed the Contract, he certified
                                                      26 that he received a copy and “had a chance to read and review it before [he] signed it.”
                                                      27 Id., at 6. Accordingly, Plaintiff’s claim that United Auto required him to submit to
                                                      28
                                                                                                      - 17 -
                                                               DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
                                                  Case 1:20-cv-01263-LMB-JFA Document 42 Filed 10/05/20 Page 24 of 24 PageID# 300



                                                          1 arbitration fails as a matter of law. Rivera v. Uniqlo California, LLC, No.
                                                          2 LACV1702848JAKJPRX, 2017 WL 6539016, at *7 (C.D. Cal. Sept. 8, 2017) (finding
                                                          3 that opt-out clause rendered the arbitration agreement not mandatory: “The
                                                          4 Arbitration Agreement expressly states that it is not mandatory. Contrary to Plaintiff's
                                                          5 assumption, it clearly states that if Plaintiff decides to opt out, he ‘will not be subject
                                                          6 to any adverse employment action as a consequence of that decision.’”).
                                                          7                                   III.   CONCLUSION
                                                          8        Plaintiff’s Contract with United Auto financed his purchase of the Vehicle,
                                                          9 which served as security for the Contract. That fact alone removes this transaction
                                                      10 from the reach of the MLA. Because the MLA does not apply to Plaintiff’s auto
                                                      11 finance transaction, the SAC cannot be amended in a way that is non-futile.
                                                      12 Accordingly, United Auto respectfully requests that the Court grant this Motion and
                       400 South Hope Street, 8th Floor




                                                      13 dismiss this action without leave to amend.
Holland & Knight LLP
                           Los Angeles, CA 90071

                             Fax: 213.896.2450
                              Tel: 213.896.2400




                                                      14
                                                      15
                                                              Dated: October 5, 2020                    HOLLAND & KNIGHT LLP
                                                      16
                                                                                                        By: /s/ Raymond Y. Kim
                                                      17                                                  Raymond Y. Kim
                                                                                                          Attorneys for Defendant
                                                      18                                                  United Auto Credit Corporation
                                                      19
                                                      20
                                                      21
                                                      22
                                                      23
                                                      24
                                                      25
                                                      26
                                                      27
                                                      28
                                                                                                        - 18 -
                                                               DEFENDANT UNITED AUTO CREDIT CORPORATION’S REPLY IN SUPPORT OF MOTION TO DISMISS
                                                                             PLAINTIFF’S SECOND AMENDED CLASS ACTION COMPLAINT
